                                  No. 23-12313


            IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT
                 ________________________________
   HISPANIC FEDERATION, PODER LATINX, VERÓNICA HERRERA-
             LUCHA, NORKA MARTÍNEZ, and A. DOE,
                                             Plaintiffs-Appellees,
                                       v.

CORD BYRD, in his official capacity as Florida Secretary of State, and ASHLEY
      MOODY, in her official capacity as Florida Attorney General,

                                      Defendants-Appellants.
                   ________________________________

               On Appeal from the United States District Court
                      for the Northern District of Florida
              No. 4:23-cv-00218-MW-MAF (Hon. Mark Walker)
                    ________________________________

          PLAINTIFFS-APPELLEES’ MOTION TO DISMISS
      INTERLOCUTORY APPEAL AS MOOT AND FOR LACK OF
                         JURISDICTION
                ________________________________

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     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                     DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Plaintiffs-Appellees submit the following statement of their corporate interests:

      1.     Plaintiff Hispanic Federation has no parent corporation or any other

publicly held corporation owning 10% or more of its stock.

      2.     Plaintiff Poder Latinx is a fiscally sponsored project of Tides

Advocacy, a California nonprofit benefit corporation. Tides Advocacy has no parent

corporation, and no publicly held corporation owns 10% or more of its stock.

      3.     All other Plaintiffs are individual persons.

      Plaintiffs-Appellees further certify that the following persons have an interest

in the outcome of this case:

      1.     Alicea, Delmarie, Counsel for Plaintiffs

      2.     Beato, Michael, Counsel for Defendant

      3.     Bell, Daniel W., Counsel for Defendant

      4.     Byrd, Cord, Defendant

      5.     Campbell-Harris, Dayton, Counsel for Plaintiffs

      6.     Cepeda Derieux, Adriel I., Counsel for Plaintiffs

      7.     Chappell, David W., Counsel for Defendant

      8.     Cruz, Roberto, Counsel for Plaintiffs

      9.     Darlington, Andrew, Declarant for Defendants

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10.   Davis, Ashley, Counsel for Defendant

11.   Doe, A., Plaintiff

12.   Druks, Roni, Counsel for Plaintiffs

13.   Ebenstein, Julie A., Counsel for Plaintiffs

14.   Ellis, Rayne, Counsel for Plaintiffs

15.   Freedman, John A., Counsel for Plaintiffs

16.   Galindo, Miranda, Counsel for Plaintiffs

17.   Herrera-Lucha, Verónica, Plaintiff

18.   Hispanic Federation, Plaintiff

19.   Jazil, Mohammad O., Counsel for Defendant

20.   Karpatkin, Jeremy, Counsel for Plaintiffs

21.   Keenan, Megan C., Counsel for Plaintiffs

22.   Konor, Estee M., Counsel for Plaintiffs

23.   Lin Lakin, Sophia, Counsel for Plaintiffs

24.   Martínez, Norka, Plaintiff

25.   McNamara, Caroline A., Counsel for Plaintiffs

26.   McVay, Bradley, Counsel for Defendant

27.   Moody, Ashley, Defendant

28.   Morse, Stephanie, Counsel for Defendant

29.   Nguyen, Phi, Counsel for Plaintiff

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30.   Ochoa, Victoria, Counsel for Plaintiffs

31.   Poder Latinx, Plaintiff

32.   Pratt, Joshua E., Counsel for Defendant

33.   Preminger, Evan, Counsel for Plaintiffs

34.   Ruiz, Cesar Z., Counsel for Plaintiffs

35.   Schenck, Robert S., Counsel for Defendant

36.   Sjostrom, Noah, Counsel for Defendant

37.   Tilley, Daniel B., Counsel for Plaintiffs

38.   Van de Bogart, Joseph S., Counsel for Defendant

39.   Vargas De-Leon, Fulvia, Counsel for Plaintiffs

40.   Walker, Mark E., U.S. District Court Judge

41.   Warren, Nicholas L.V., Counsel for Plaintiffs

42.   Whitaker, Henry C., Counsel for Defendant




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       APPELLEES’ MOTION TO DISMISS INTERLOCUTORY APPEAL
           AS MOOT AND FOR LACK OF JURISDICTION

      Plaintiffs-Appellees hereby respectfully request that the Court dismiss

Defendant-Appellants interlocutory appeal as moot. Fed. R. App. P. 42(b)(2). This

appeal arises from the district court’s entry of a preliminary injunction. See Fla.

State Conf. of Branches & Youth Units of the NAACP v. Byrd, 680 F. Supp. 3d 1291

(N.D. Fla. 2023). After a trial, the district court has since entered a permanent

injunction and judgment. Hisp. Fed. v. Byrd, --- F. Supp. 3d ---, 2024 WL 2206328

(N.D. Fla. May 15, 2024). Defendants have appealed that judgment, which is now

separately pending before this Court. See Hisp. Fed. v. Fla. Sec’y of State, No. 24-

11892. The present appeal is therefore moot and the panel lacks jurisdiction to hear

it. See, e.g., Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S.

308, 314 (1999); Birmingham Fire Fighters Ass’n 117 v. City of Birmingham, 603

F.3d 1248, 1255 (11th Cir. 2010).

      Defendants-Appellants oppose this motion.

                 REASONS FOR GRANTING THE MOTION

      A.    Procedural Background

      1.    In May 2023, Plaintiffs below—voter-registration organizations whose

staff and volunteer base consist primarily of lawful permanent residents and other

noncitizens authorized to work in the United States and three individual noncitizens

who register voters in Florida—sued to enjoin Fla. Stat. § 97.0575(1)(f). That
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provision, part of a broader statute titled SB 7050 that became law on May 24, 2024,

prohibits any noncitizen from “collecting or handling voter registration applications”

on behalf of a voter-registration organization. It fines those organizations $50,000

per noncitizen who “collect[s] or handle[s]” voter registration applications on the

organizations’ behalf. Shortly after filing suit, Plaintiffs also sought emergency

relief by means of a preliminary injunction.

      2.     The district court consolidated Plaintiffs’ challenge with two other

actions challenging Section 97.0575(f)(1) (the “Citizenship Requirement”) and other

parts of SB 7050. See Minute Entry, Hisp. Fed. v. Byrd, No. 23-cv-00218, ECF No.

56 (N.D. Fla. June 15, 2023) (consolidating cases for purposes of preliminary

injunction hearing).1 Both of those actions also sought preliminary injunctive relief

against the Citizenship Requirement.

      3.     On July 3, 2023, the district court preliminarily enjoined enforcement

of the Citizenship Requirement in the present underlying action and another suit led

by the Florida State Conference of Branches and Youth Units of the NAACP. See

Fla. State Conf. of Branches & Youth Units of the NAACP, 680 F. Supp. 3d at 1299

n.3. The district court found that Plaintiffs established a substantial likelihood of

success on their claim that the law violated Plaintiffs’ guarantee to equal protection


1
 See also Fla. State Conf. of Branches & Youth Units of the NAACP, 680 F. Supp.
3d at 1299 n.1, n.3 (describing consolidated actions).

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under law, because the statute, on its face, “discriminates on the basis of alienage”

and Defendants could not show it could survive strict scrutiny. Id. at 1310–11.

      4.     Defendants appealed the district court’s preliminary injunction and

successfully moved to consolidate the two underlying actions before this Court for

purposes of that appeal. See Mot. to Consolidate Appeals 23-12308 & 23-12313,

Fla. State Conf. of Branches & Youth Units v. Fla. Sec’y of State, No. 23-12308,

ECF No. 30. The consolidated parties briefed the matter and appeared before the

Court for oral argument on January 25, 2024.

      5.     On March 1, 2024, the district court granted Plaintiffs’ motion for

summary judgment against the Florida Secretary of State. Hisp. Fed. v. Byrd, ---

F. Supp. 3d ---, 2024 WL 906004 (N.D. Fla. Mar. 1, 2024). In so doing, the district

court rejected many of the same arguments that Defendants argued before this Court

on appeal from the July 2023 preliminary injunction. See id. at *3–*4 (rejecting

Salerno-based argument and the view that political-function exception applies to

challenged law). The district court concluded that the case law compelled it to apply

strict scrutiny to the challenged citizenship requirement and that the summary

judgment “record demonstrates, without any genuine dispute” that the law failed that

test. Id. The district court, however, did not grant summary judgment in Plaintiffs’

favor against the Florida Attorney General because it concluded that triable issues




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remained as to their standing against that defendant. Id. Nor did it enter partial

judgment at that time.

      6.     Between April 1, 2024, and April 9, 2024, the district court held a

seven-day bench trial on the three consolidated actions. 2       As to SB 7050’s

Citizenship Requirement, the district court heard testimony from representatives of

Plaintiffs Hispanic Federation and Poder Latinx and other organizations as to the

substantial harm the Citizenship Requirement would have on their organizations.

Trial Br., Hisp. Fed. v. Byrd, No. 23-cv-00218, ECF No. 188 at 36–50. Individual

Plaintiffs Verónica Herrera-Lucha, Elizabeth Pico, and Norka Martínez and other

individuals similarly testified to the Citizenship Requirement’s abridgment of their

constitutionally protected rights. Id. at 29–35. Experts in the consolidated cases

further testified as to the effects that the Citizenship Requirement would have on

Plaintiffs’ protected activity and conduct. E.g., id. at 84.

      7.     On May 15, 2024, the district court entered a permanent injunction that

affords Plaintiffs-Appellees the same relief as the preliminary injunction on appeal.

Compare Fla. State Conf. of Branches & Youth Units of the NAACP, 680 F. Supp.

3d at 1323 (order granting preliminary injunction), with Hisp. Fed., No. 23-cv-

00218, ECF No. 199 (final judgment).


2
 In addition to the Citizenship Requirement, the trial concerned claims brought by
other plaintiffs concerning certain other provisions of SB 7050.

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      8.     On May 15, 2024, Plaintiffs-Appellees informed this panel of the

district court’s entry of final judgment and indicated that they understood this

presumptively mooted Defendants-Appellants’ appeal. Supp. Authority, Hisp. Fed.

v. Byrd, No. 23-12313, ECF No. 72. On May 16, 2024, the Secretary of State

notified the panel that because the present appeal was consolidated with a second

appeal (NAACP v. Byrd, No. 23-12308) where judgment in the action below had not

issued, he intended to “file notices of appeal” and then “move to consolidate the

cases” once the district court issued final orders in “all SB7050 cases.” Resp. to

Supp. Authority, Hisp. Fed. v. Byrd, No. 23-12313, ECF No. 73.

      9.     The Secretary’s response did not argue, however, that the present

appeal was not moot. It only explained that the proposed approach was consistent

with precedent because the preliminary injunction order “‘is merged with’” the

“‘order of permanent injunction.’” Id. (quoting SEC v. First Fin. Grp. of Tex., 645

F.2d 429, 433 (5th Cir. 1981)).

      10.    On June 11, 2024, Defendants filed a notice of appeal of the district

court’s final judgment. Notice, Hisp. Fed. v. Fla. Sec’y of State, No. 24-11892, ECF

No. 1. That appeal has been docketed under No. 24-11892. On June 20, the Clerk

of Court entered set a briefing schedule. No. 24-11892, ECF No. 22. Appellants’

brief in the separately docketed appeal is currently due on July 22. Id.




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      B.     Legal Argument: The present interlocutory appeal is moot and the
             Court lacks jurisdiction to consider it.
      11.    “[A]n appeal from the grant of a preliminary injunction becomes moot

when the trial court enters a permanent injunction, because the former merges into

the latter.” Grupo Mexicano de Desarrollo S.A., 527 U.S. at 314. This is so because

“[t]he purpose of a preliminary injunction is merely to preserve the relative positions

of the parties until a trial on the merits can be held.” Univ. of Texas v. Camenisch,

451 U.S. 390, 395 (1981). As a result, a preliminary injunction “dissolve[s] when

the Court enter[s] [] final judgment.” Acrylicon USA, LLC v. Silikal GmbH, 985

F.3d 1350, 1360–61 n.25 (11th Cir. 2021). And this Court’s cases leave no doubt

that “the subsequent entry of a permanent injunction strips th[e] Court of jurisdiction

to review a preliminary injunction because the preliminary injunction merges into

the permanent injunction.”      Birmingham Fire Fighters Ass’n 117 v. City of

Birmingham, 603 F.3d 1248, 1254 (11th Cir. 2010).3


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  See also In re: Chiquita Brands Int’l, Inc., 965 F.3d 1238, 1245 (11th Cir. 2020)
(“A permanent injunction order moots interlocutory review of a corresponding
preliminary injunction order because the preliminary injunction order inherently
‘merges’ with the permanent injunction order.”); Assoc. Builders & Contractors Fla.
E. Coast Chapter v. Miami-Dade Cnty., 594 F.3d 1321, 1323–24 (11th Cir. 2010)
(per curiam) (“Once an order of permanent injunction is entered, any preliminary
injunction merges with it, and appeal may be had only from the order of permanent
injunction.”); Burton v. State of Ga., 953 F.2d 1266, 1272 n.9 (11th Cir. 1992)
(“Once a final judgment is rendered, the appeal is properly taken from the final
judgment, not the preliminary injunction.”); Cone Corp. v. Hillsborough Cnty., 908
F.2d 908, 912 n.5 (11th Cir. 1990) (“The County’s challenge to the issuance of the

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         12.   This Court has explained why a permanent injunction deprives it of

jurisdiction to hear an appeal taken from similar preliminary relief: interlocutory

appeals like this one are an exception to the final judgment rule. See, e.g., 28 U.S.C.

§ 1291; Birmingham Fire Fighters Ass’n 117, 603 F.3d at 1254. But “[i]ntervening

events can affect [the] court’s jurisdiction over an interlocutory appeal.” Id. Final

judgment that “contain[]s the very same injunctive relief” as a preliminary injunction

is such a “crucial” intervening “change in circumstances[.]” Id.

         13.   Such intervening events have clearly happened here.         Defendants

invoked this Court’s jurisdiction to hear their appeal under 28 U.S.C. § 1292(a),

which details narrow exceptions to the final judgment rule. See Appellants’ Merits

Br. 2.     But the district court’s entry of a permanent injunction supplants the

preliminary injunction on review because it “raise[s] the same questions” as the latter

and “speaks to the merits of whether the requested injunctive relief is appropriate.”4

In re: Chiquita Brands Int’l, Inc., 965 F.3d at 1245. That “change in circumstances

[] prevents this Court from hearing an appeal from th[e] initial [] Order.”

Birmingham Fire Fighters Ass’n 117, 603 F.3d at 1254–55. The appeal can now




preliminary injunction is moot . . . because a permanent injunction has issued.”).
4
  Defendants-Appellants acknowledge the point. See Resp. to Supp. Authority, No.
23-12313, ECF No. 73 at 2 (noting “analysis for the Citizenship Requirement
remains unchanged” after the district court’s permanent injunction).

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only “properly taken from the final judgment order, not the preliminary injunction.”

Burton, 953 F.2d at 1272 n.9. Importantly, Defendants-Appellants have proceeded

to appeal the final judgment. See Hisp. Fed., No. 24-11892. The present appeal is

therefore moot, and the Court lacks jurisdiction over case No. 23-12313, which can

only be absorbed into an appeal taken from the permanent injunction.

      14.    Lastly, insofar as Defendants-Appellants seek to “preserve judicial

resources and streamline the appellate resolution of the cases,” those aims would

now best be accomplished by requesting that the Court hold the newly docketed No.

24-11892 in abeyance until the district court “issues orders in all SB7050 cases.”

Resp. to Supp. Authority, No. 23-12313, ECF No. 73 at 2. Those cases could then

proceed together as consolidated appeals from final judgment of all pending

SB 7050-related disputes before the federal courts.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs-Appellees respectfully request this Court

dismiss this appeal for lack of jurisdiction.



Dated: June 24, 2024                            Respectfully submitted,

                                                /s/ Adriel I. Cepeda Derieux    _
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                       CERTIFICATE OF COMPLIANCE

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Dated: June 24, 2024                        Respectfully submitted,

                                            /s Adriel I. Cepeda Derieux   _




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